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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 13 B 20522
         Emem E. Ubom

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 05/15/2013.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was Dismissed on 06/10/2013.

         6) Number of months from filing to last payment: 0.

         7) Number of months case was pending: 2.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

           Total paid by or on behalf of the debtor                  $0.00
           Less amount refunded to debtor                            $0.00

 NET RECEIPTS:                                                                                          $0.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                 $0.00
     Court Costs                                                           $0.00
     Trustee Expenses & Compensation                                       $0.00
     Other                                                                 $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                      $0.00

 Attorney fees paid and disclosed by debtor:                    $0.00


 Scheduled Creditors:
 Creditor                                       Claim         Claim        Claim         Principal       Int.
 Name                                 Class   Scheduled      Asserted     Allowed          Paid          Paid
 Amex                             Unsecured         107.57           NA             NA           0.00        0.00
 Calvary Portfolio                Unsecured         581.66           NA             NA           0.00        0.00
 Credit Union 1                   Unsecured          35.44           NA             NA           0.00        0.00
 Department of the Treasury       Priority       1,189.46            NA             NA           0.00        0.00
 EAF LLC                          Unsecured         316.93           NA             NA           0.00        0.00
 Fed Loan                         Unsecured          19.13           NA             NA           0.00        0.00
 Fed Loan                         Unsecured          12.36           NA             NA           0.00        0.00
 Midland Funding                  Unsecured          29.29           NA             NA           0.00        0.00
 Northwestern Memorial Hospital   Unsecured      3,909.60            NA             NA           0.00        0.00
 Primary Financial                Unsecured         340.58           NA             NA           0.00        0.00
 Revenue Cycle Solution           Unsecured          33.89           NA             NA           0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00              $0.00             $0.00
       Mortgage Arrearage                                      $0.00              $0.00             $0.00
       Debt Secured by Vehicle                                 $0.00              $0.00             $0.00
       All Other Secured                                       $0.00              $0.00             $0.00
 TOTAL SECURED:                                                $0.00              $0.00             $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                                   $0.00              $0.00             $0.00


 Disbursements:

         Expenses of Administration                                  $0.00
         Disbursements to Creditors                                  $0.00

 TOTAL DISBURSEMENTS :                                                                            $0.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 07/26/2013                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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